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                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                       Mag. No. 16-   Lf OQ)
          v.                                   Hon. Michael A. Hammer

EDWIN ALAMO, JR.,
SAURO D. ESTEVEZ FIGUEREDO,
EMMANUEL GONZALEZ,
ALBERTO MORA, and
PORFIRIO PERALTA-NUNEZ


      I, Raymond Morrison, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

                           SEE ATTACHMENT A

     I further state that I am a Special Agent with the United States Drug
Enforcement Administration, and that this complaint is based on the following
facts:

                           SEE ATTACHMENT B

Continued on the attached page and made a part hereof:



                                         Sp     1 Agent Raymond Morrison
                                         U.S. Drug Enforcement
                                         Administration
                                         (Agent Morrison attested to this
                                         Affidavit by telephone pursuant to
                                         Fed. R. Crim. P. 4. l(b)(2)(A))
Sworn to and subscribed via telephone,
This 7th day of February 2016 in New Jersey

HONORABLE MICHAEL A. HAMMER
UNITED STATES MAGISTRATE JUDGE
                                          ~ y.' H~
                                          Signature   of JudicialOC
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HONORABLE MICHAELA. HAMMER                         ~
                                                             L.
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UNITED STATES MAGISTRATE JUDGE           sgnatUre OfJUdiCi Of'fiCer
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                                ATTACHMENT A

                                  COUNT ONE

      On or about February 5, 2016, in Passaic County, in the District of New
Jersey and elsewhere, defendants

                            EDWIN ALAMO, JR.,
                       SAURO D. ESTEVEZ FIGUEREDO,
                          EMMANUEL GONZALEZ,
                           ALBERTO MORA, and
                         PORFIRIO PERALTA-NUNEZ

did knowingly and intentionally conspire and agree with each other and with
others to distribute and possess with intent to distribute 1 kilogram or more of a
mixture and substance containing a detectable amount of heroin, a Schedule I
controlled substance, contrary to Title 21, United States Code, Sections 841(a)(l)
and (b)(l)(A).

      In violation of Title 21, United States Code, Section 846.

                                  COUNT TWO

      On or about February 5, 2016, in Passaic County, in the District of New
Jersey and elsewhere, defendants

                    SAURO D. ESTEVEZ FIGUEREDO, and
                             ALBERTO MORA

did knowingly and intentionally conspire and agree with each other and with
others to distribute and possess with intent to distribute 5 kilograms or more
of a mixture and substance containing a detectable amount of cocaine, a
Schedule II controlled substance, contrary to Title 21, United States Code,
Sections 841 (a)( 1) and (b )( 1)(A).

      In violation of Title 21, United States Code, Section 846.
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                                ATTACHMENT B

              I, Raymond Morrison, am a Special Agent with the United States Drug
Enforcement Administration ("DEA"). I am fully familiar with the facts set forth
herein based on my own investigation, my conversations with other law
enforcement officers, and my review of reports, documents, and other items of
evidence. Because this Complaint is being submitted for a limited purpose, I have
not set forth each and every fact that I know concerning this investigation. Where
statements of others are related herein, they are related in substance and part.
Where I assert that an event took place on a particular date, I am asserting that it
took place on or about the date alleged.

      1.    As part of an ongoing investigation (the "Investigation"), law
enforcement learned that members of a drug trafficking organization have been
shipping narcotics to New Jersey and elsewhere. Law enforcement agents
conducting the Investigation informed law enforcement agents in New Jersey that
a shipment of suspected narcotics destined for defendant PORFIRIO PERALTA-
NUNEZ ("PERALTA-NUNEZ") was expected to arrive in the New Jersey area on or
about February 4, 2016. As a result, law enforcement conducted physical
surveillance of PERALTA-NUNEZ.

       2.     Ori or about February 5, 2016, at approximately 3:20 p.m., law
enforcement saw PERALTA-NUNEZ enter a store in or around Clifton, New Jersey
(the "Clifton Store"). Law enforcement also saw a tractor trailer (the "Tractor
Trailer") parked at a nearby intersection. Inside the Tractor Trailer were defendant
SAURO D. ESTEVEZ FIGUEREDO ("FIGUEREDO") and defendant ALBERTO
MORA ("MORA").

       3.    Also on or about February 5, 2016, at approximately 3:30 p.m., law
enforcement watched as a Honda Odyssey (the "Odyssey"), driven by defendant
EMMANUEL GONZALEZ ("GONZALEZ"), parked near the Tractor Trailer. The
passenger of the Odyssey, defendant EDWIN ALAMO, JR. ("ALAMO"), got out of
the Odyssey carrying a bag ("ALAMO's Bag"). ALAMO then entered the Tractor
Trailer through the passenger side of the cabin. Law enforcement officers watched
MORA give ALAMO a suitcase (the "Suitcase"), which ALAMO took and brought
back to the Odyssey. The Suitcase appeared to be heavily weighted, as ALAMO
struggled to carry it. ALAMO placed the Suitcase in the backseat of the Odyssey
and re-entered the Odyssey. The Odyssey then left the area.

      4.     Law enforcement followed the Odyssey. GONZALEZ drove erratically,
and conducted several maneuvers consistent with an attempt to evade law
enforcement.    After GONZALEZ committed several traffic violations, law
enforcement conducted a traffic stop of the Odyssey.        Law enforcement
approached ALAMO. Seeing ALAMO's hands near the Suitcase, law enforcement
asked, in sum and substance, what was inside the Suitcase. ALAMO responded,
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in sum and substance: "You know what it is, it's dope."

       5.    A lawful search of the Suitcase revealed approximately twenty-two
(22) kilograms of suspected heroin, which subsequently field-tested positive for the
presence of heroin.

      6.    The law enforcement agents who seized the 22 kilograms of suspected
heroin then alerted other law enforcement agents, who were still watching the
Tractor Trailer, that the Suitcase recovered from the Odyssey contained a large
amount of suspected heroin.

      7.    Law enforcement arrested GONZALEZ and ALAMO.

       8.    Meanwhile, at approximately 4:00 p.m., law enforcement watched as
PERALTA-NUNEZ left the Clifton Store and got into the passenger side of a
Cadillac (the "Cadillac"). The driver of the Cadillac engaged in counter-
surveillance maneuvers consistent with trying to detect the presence of law
enforcement, including driving past the Tractor Trailer once before parking in
front of it.

       9.    PERALTA-NUNEZ then got out of the Cadillac carrying two bags that
appeared to be empty ("PERALTA-NUNEZ's Bags") and approached the Tractor
Trailer. PERALTA-NUNEZ entered the Tractor Trailer through the passenger side
of the cabin. Law enforcement watched as FIGUEREDO left the driver's seat of the
Tractor Trailer and entered the back of the cabin with PERALTA-NUNEZ.
Moments later, PERALTA-NUNEZ left the Tractor Trailer carrying PERALTA-
NUNEZ's Bags, which - unlike before - appeared to be heavily weighted.

      10. PERALTA-NUNEZ then re-entered the Cadillac, which drove off. Law
enforcement conducted a stop of the Cadillac. As law enforcement approached the
Cadillac, they saw PERALTA-NUNEZ attempt to hide the contents of PERALTA-
NUNEZ's Bags in a "trap" (or hidden compartment) in the Cadillac. Law
enforcement opened the door of the Cadillac, and saw at least one package of
suspected heroin on PERALTA-NUNEZ's lap.            PERALTA-NUNEZ told law
enforcement, in sum and substance, that the packages belonged to him.

      11. A lawful search of the Cadillac revealed approximately thirteen ( 13)
kilograms of suspected heroin, which subsequently field-tested positive for the
presence of heroin.

     12. Law        enforcement     arrested   PERALTA-NUNEZ,        MORA,      and
FIGUEREDO.

       13. Law enforcement then obtained a search warrant for the Tractor
Trailer. A search of the Tractor Trailer revealed two bags (the "Tractor Trailer
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Bags") that contained approximately twenty (20) kilograms of suspected narcotics,
which subsequently field-tested positive for the presence of cocaine. The Tractor
Trailer bags were located in the sleeping area of the Tractor Trailer's cabin, directly
behind where MORA and FIGUEREDO had been sitting. Law enforcement also
recovered ALAMO's Bag from the Tractor Trailer, which contained money that,
based on my training and experience, was packaged in a manner consistent with
narcotics proceeds.

      14. In total, law enforcement seized approximately 35 kilograms of
suspected heroin and 20 kilograms of suspected cocaine as part of the conspiracy:

                a. Approximately 22 kilograms of suspected heroin from the
                   Odyssey occupied by defendants GONZALEZ and ALAMO;

                b. Approximately 13 kilograms of suspected heroin from the
                   Cadillac occupied by defendant PERALTA-NUNEZ; and

                c. Approximately 20 kilograms of suspected cocaine from the
                   Tractor Trailer occupied by defendants MORA and
                   FIGUEREDO.
